      Case 1:19-mj-00253-MEH Document 1 Filed 11/14/19 USDC Colorado Page 1 of 6
         Case 3:18-cr-02407-KC Document 74 *SEALED* Filed 07/08/19 Page 1 of 1
    A0 442   (Rev. 12/85) Warrant for Arrest




                                United States District Court
                                               WESTERN DISTRICT OF TEXAS
 UNITED STATES OF AMERICA
                        V.
                                                                         WARRANT FOR ARREST
SELENA LOPEZ                                                            CASE NUMBER: EP-18-CR-02407KC(2)
                                                                       19-mj-253-MEH


To:          The United States Marshal
             and any Authorized United States Officer

YOU ARE HEREBY COMMANDED to arrest                                                             Selena Lopez
                                                                                                          Name

and bring him or her forthwith to the nearest magistrate to answer a(n)

      Indictment    [1 Information [1 Complaint             Order of court
                                                    [   J                    [ ] Violation Notice   [X] TSR Violation Petition
charging him/her with


                         VIOLATION OF CONDITIONS OF SUPERVISED RELEASE


in violation of Title                          United States Code, Section(s)                      3583

                                                                        Clerk, U.S. District Court
N                                                                       Title of Issuing Officer


                                                                        July 8, 2019                El Paso, TX
Signatur        lsskig Officer                                          Date and Location

                 at$ NO BOND                                            by     Kathleen Cardone, U.S. District Judge
                                                                             Name of Judicial Officer



                                                                   RETURN

     This warrant was received and executed with the arrest of the above-named
                                                                               defendant at


     DATE RECEIVED              NAME AND TITLE OF ARRESTING OFFICER                        SIGNATURE OF ARRESTING OFFICER

    DATE OF ARREST
       Case 1:19-mj-00253-MEH Document 1 Filed 11/14/19 USDC Colorado Page 2 of 6
          Case 3:18-cr-02407-KC Document 71 *SEALED* Filed 07/08/19 Page 1 of 2


  Prob12C(7/93)
                                                                                    F1Ljj
                            UNITED STATES DISTRICT COUR19
                                                                                            Pi 3:21
                                                    for

                                     WESTERN    DISTRICT OF TEXAS                                    TaxAs

                                                                                                 LERi
              Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Selena Lopez
Case Number: EP-18-CR-2407KC(2)
Name of Sentencing Judicial Officer: Kathleen Cardone, U.S. District Judge
Date of Original Sentence: January 16, 2019
Original Offense: Conspiracy to Possess with Intent to Distribute 50 Kilograms or More of Marijuana,
in violation of 21 U.S.C. § 846 and 841(a)(1) and (b)(1)(C)
Original Sentence: Ct. 3, Ten (10) months custody followed by three (3) years supervised release
Type of Supervision: Supervised Release
Date Supervision Commenced: June 3, 2019
Assistant U.S. Attorney: Michael Cramer Williams                     Defense Attorney: Robert Ramos

                                      PETITIONING THE COURT

(XI    To issue a warrant

( ]    To issue a summons

The probation officer believes that the offender has violated the following conditions of supervision:

Violation Number 1: You must report to the probation office in the federal judicial district where you
are authorized to reside within 72 hours Qf your release from imprisonment, unless the probation officer
instructs you to report to a different probation office or within a different time frame.

       Nature of Noncompliance: On June 3, 2019, Selena Lopez released from custody.
      Since releasing from incarceration, Lopez has failed to report to the U.S. Probation Office
      as ordered by the Court. It should be noted, home visits were conducted to Lopez' sisters'
      residence in Vinton, Texas and a second home visit was conducted to a previously noted
      address for Lopez' sister, Marisela Trejo in Chaparral, New Mexico. However, attempts
      to locate Lopez and or make contact with her sister, Trejo, have been unsuccessful.
      Additionally, a local jail records check and a check of the National Crime Information
      Center (NCIC) verified Lopez has not been arrested for any new charges and she is not
      incarcerated as of this writing. Further, officials with the High Intensity Drug Trafficking
      Area (HIDTA) conducted a border crossing verification which revealed Lopez last crossed
      into the United States from Mexico on August 4, 2018 (which is the date for the instant
      offense). Therefore, based on this information, Lopez' whereabouts are unknown.
      Case 1:19-mj-00253-MEH Document 1 Filed 11/14/19 USDC Colorado Page 3 of 6
         Case 3:18-cr-02407-KC Document 71 *SEALED* Filed 07/08/19 Page 2 of 2

Selena Lopez
Docket No. 0542 3:18CR02407
Petition for Warrant or Summons for Offender Under Supervision
Page   12




U.S. Probation Officer Recommendation:

The term of supervision should be

        [XI revoked.

        [1 extended for                      years, for a total term of____________years.

        [1 modified as follows:

Respectfully submitted,                                                           by,



             z-Hnande
U.S. Probation Officer                                                   u      I  g U.S. Probation Officer
Office (915) 585-5513                                                   Office (915) 585-6554
Cellular (915) 861-8875                                                 Cellular (915) 861-8982
Date: July 1,2019

THE COURT ORDERS:

  }     No action.

        The issuance of a warrant.

  )    The issuance of a summons.

  ]     Other




                                                                   July   8, 2019
                                                                 Date
 Case 1:19-mj-00253-MEH Document 1 Filed 11/14/19 USDC Colorado Page 4 of 6
    Case 3:18-cr-02407-KC Document 72 *SEALED* Filed 07/08/19 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT                                 L.
                        FOR THE WESTERN DISTRICT OF TEXAS                   2019   JUL -6 PH
                                 EL PASO DIVISION                                               3:
                                                                                                     2   I
                                                                            CLj
  UNITED STATES OF AMERICA,                        §                                                     'S
                                                   §
         Plaintiff,                                §
                                                  §
 v.                                               §         NO. EP-18-CR-02407-KC(2)
                                                  §
 SELENA LOPEZ,                                    §
                                                  §
         Defendant.                               §
                                                  §


                      MOTION TO REVOKE SUPERVISED RELEASE

       Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas, and moves the Court to revoke the supervised release of SELENA

LOPEZ, in the above entitled and numbered cause. In support of this motion the United States of

America alleges violations of Supervised Release as set forth in U.S. Probation Form 12C, Petition

for Warrant or Summons for Offender Under Supervision, filed in the above-entitled and

numbered cause.

       WHEREFORE, premises considered, the United States respectfully prays that Defendant's

supervised release be revoked.

                                            Respectfully submitted,

                                            JOHN F. BASH
                                            UNITED STATES ATTORNEY


                                     BY
                                            STEPHEN G. GARCIA
                                            Assistant U.S. Attorney
                                            Texas Bar #07646450
                                            700 E. San Antonio, Suite 200
                                            El Paso, Texas 79901
                                            (915) 534-6884
 Case 1:19-mj-00253-MEH Document 1 Filed 11/14/19 USDC Colorado Page 5 of 6
    Case 3:18-cr-02407-KC Document 73 *SEALED* Filed 07/08/19 Page 1 of 2


                                                                                               r'
                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                                                                       2U19   JUL -8 PH
                                         EL PASO DIVISION                                                 3:   2   1


                                                                                                               ftr
  UNITED STATES OF AMERICA,                               §
                                                          §
                                                                                       67
            Plaintiff,                                    §
                                                          §
  v.                                                      §        NO. EP-18-CR-02407-KC(2)
                                                          §
  SELENA LOPEZ,                                           §
                                                          §
            Defendant.                                    §
                                                          §


                    GOVERNMENT'S MOTION TO DETAIN DEFENDANT
                    WITHOUT BOND AND MOTION FOR CONTINUANCE

TO THE HONORABLE JUDGE OF SAID COURT:

        Comes now the United States of America, by and through the United States Attorney for

the Western District of Texas, and files this, its Motion to Detain Defendant Without Bond and

Motion for Continuance, and for cause, would respectfully show the Court the following:

                                                         I.

       The Government at this time moves the Court to hold the above-named Defendant without

bond pursuant to 18 U.S.C.        § 3 142(e)   and (f). This request is made for the following reasons:

       1.        The Defendant has violated the terms of supervised release.

       2.        Title   18   U.S.C.   §   3142(e) and (f) directs that the judicial officer shall order a

defendant detained, unless the judicial officer finds by clear and convincing evidence that a

defendant is not likely to flee or pose a danger to the safety of any person or the community.

       3.        Pursuant to Federal Rules of Criminal Procedure, Rule 32.1 (a)(6), the burden rests

with the Defendant to establish by clear and convincing evidence that the Defendant will not flee

or pose a danger to any other person or to the community.
Case 1:19-mj-00253-MEH Document 1 Filed 11/14/19 USDC Colorado Page 6 of 6
   Case 3:18-cr-02407-KC Document 73 *SEALED* Filed 07/08/19 Page 2 of 2



       The Government would further move the Court for a three-day continuance of the detention

hearing from the date of the initial appearance.

       WHEREFORE, premises considered, the Government respectfully prays the Court to hold

the above-named Defendant without bail pending the final outcome of this case.


                                             Respectfully submitted,

                                             JOHN F. BASH
                                             UNITED STATES ATTORNEY


                                     BY:
                                             STEPHEN G. GARCIA
                                             Assistant U.S. Attorney
                                             Texas Bar #07646450
                                             700 E. San Antonio, Suite 200
                                             El Paso, Texas 79901
                                             (915) 534-6884
